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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                     AMARILLO DIVISION

UNITED STATES OF AMERICA                            §
                                                    §
     Plaintiff,                                     §
                                                    §
v.                                                  §     Criminal Action No. 2:18-CR-00095-Z-BR
                                                    §
ANDREW RODRIGUEZ (6)                                §
                                                    §
     Defendant.                                     §

                    ORDER ADOPTING REPORT AND RECOMMENDATION
                            CONCERNING PLEA OF GUILTY

            On September 13, 2019, the United States Magistrate Judge issued a Report and

     Recommendation Concerning Plea of Guilty (“Report and Recommendation”) in the above

     referenced cause. Defendant Andrew Rodriguez filed no objections to the Report and

     Recommendation within the fourteen-day period set forth in 28 U.S.C. § 636(b)(1). The Court

     independently examined all relevant matters of record in the above referenced cause—including

     the elements of the offense, Factual Resume, Plea Agreement, and Plea Agreement Supplement—

     and thereby determined that the Report and Recommendation is correct. Therefore, the Report and

     Recommendation is hereby ADOPTED by the United States District Court. Accordingly, the Court

     hereby FINDS that the guilty plea of Defendant Andrew Rodriguez was knowingly and voluntarily

     entered; ACCEPTS the guilty plea of Defendant Andrew Rodriguez; and ADJUDGES Defendant

     Andrew Rodriguez guilty of Count Four in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C).

     Sentence will be imposed in accordance with the Court’s sentencing scheduling order.


            SO ORDERED, September 30, 2019.


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                                                          MATTHEW J. KACSMARYK
                                                          UNITED STATES DISTRICT JUDGE
